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19
                               UNITED STATES DISTRICT COURT
20
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
21
     UNITED STATES OF AMERICA,                      No. CV 20-00327
22
                 Plaintiff,                         COMPLAINT AND
23                                                  DEMAND FOR A JURY TRIAL
                        v.
24
     FILOMENO HERNANDEZ, RAMIN
25   AKHAVAN, BONNIE BRAE
     INVESTMENT SERVICES LLC, and
26   WESTLAKE PROPERTY SERVICES
     LLC,
27
                 Defendants.
28
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 1         Plaintiff United States of America hereby alleges as follows:
 2                               PRELIMINARY STATEMENT
 3         1.     The United States brings this action to enforce the provisions of Title VIII
 4   of the Civil Rights Act of 1968, as amended, 42 U.S.C. §§ 3601 et seq. (the “Fair
 5   Housing Act”).
 6                               JURISDICTION AND VENUE
 7         2.     This Court has jurisdiction over the subject matter of the claims in this
 8   action under 28 U.S.C. §§ 1331, 1345, and 42 U.S.C. § 3614(a).
 9         3.     Venue is proper in the Central District of California pursuant to 28 U.S.C.
10   § 1391(b) because the claims alleged herein occurred in the Central District of
11   California, and the Defendants reside or do business in the Central District of California.
12                                        DEFENDANTS
13         4.     Defendant Filomeno Hernandez is a resident of Los Angeles, California.
14         5.     Defendant Ramin Akhavan is a resident of Los Angeles, California.
15         6.     Defendant Bonnie Brae Investment Services LLC is a California limited
16   liability corporation with its business address in Los Angeles, California. Defendant
17   Ramin Akhavan is the sole member of Bonnie Brae Investment Services LLC. In 2004,
18   Defendant Ramin Akhavan formed Bonnie Brae Investment Services LLC.
19         7.     Defendant Westlake Property Services LLC is a California limited liability
20   corporation with its business address in Los Angeles, California. Defendant Ramin
21   Akhavan is the sole member of Westlake Property Services LLC. In 2004, Defendant
22   Ramin Akhavan formed Westlake Property Services LLC.
23                                GENERAL ALLEGATIONS
24         8.     In 1995, Defendant Akhavan purchased the property located at 720 South
25   Westlake Avenue in Los Angeles, California (“Westlake”).
26         9.     Westlake is one apartment building with 82 units. It also has a small annex
27   building with four units. Some of the Westlake units do not contain bathrooms, so those
28   tenants must use the communal bathrooms located on each floor. Westlake is a
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 1   “dwelling” with the meaning of 42 U.S.C. § 3602(b).
 2          10.   In 1998, Defendant Akhavan purchased the rental property at 729 South
 3   Bonnie Brae Street in Los Angeles, California (“Bonnie Brae”).
 4          11.   Bonnie Brae is one apartment building with 97 units. Some of these units
 5   contain bathrooms. Other units do not have bathrooms, so tenants must use the
 6   communal bathrooms located on each floor. The Bonnie Brae property is a “dwelling”
 7   with the meaning of 42 U.S.C. § 3602(b).
 8          12.   In 2004, after forming Bonnie Brae Investment Services LLC, Defendant
 9   Akhavan transferred ownership of Bonnie Brae to Bonnie Brae Investment Services
10   LLC.
11          13.   In 2004, after forming Westlake Property Services LLC, Defendant
12   Akhavan transferred ownership of Westlake to Westlake Property Services LLC.
13          14.   Defendant Akhavan has comingled the funds of Bonnie Brae Investment
14   Services LLC and Westlake Property Services LLC, both with each other and with his
15   personal finances. For instance, Defendant Akhavan, through Bonnie Brae Investment
16   Services LLC, refinanced Bonnie Brae’s mortgage in 2008 for between 1.5 to 1.75
17   million dollars; he gave himself some of that amount, and he used approximately
18   $750,000 for repairs at Westlake. Defendant Akhavan also took out personal loans for
19   Bonnie Brae repairs.
20          15.   In 2005, Defendant Akhavan hired Defendant Hernandez as property
21   manager of Bonnie Brae. Defendant Hernandez has been the property manager at Bonnie
22   Brae from 2005 to the present.
23          16.   In 2008, Defendant Akhavan hired Defendant Hernandez as property
24   manager of Westlake. Defendant Hernandez has been the property manager at Westlake
25   from 2008 to the present.
26          17.   Although Defendant Hernandez manages both Bonnie Brae and Westlake,
27   he only receives a salary from Bonnie Brae Investment Services LLC.
28          18.   Additionally, as part of his compensation, Defendant Hernandez initially
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 1   received one unit on the first floor of Bonnie Brae, rent free. Defendant Akhavan has
 2   since provided him a second unit on the first floor of Bonnie Brae, rent free. Defendant
 3   Hernandez resides on the first floor of Bonnie Brae.
 4         19.    Defendant Hernandez participates in all aspects of management of Bonnie
 5   Brae and Westlake. His job duties include approving new tenants, collecting rent,
 6   receiving maintenance requests, making repairs, communicating with tenants regarding
 7   utility bills and late rental payments, assisting with eviction proceedings, and preparing
 8   vacant units for new tenants. Because neither property has locked mailboxes, Defendant
 9   Hernandez sorts the mail and hands it to tenants when they visit the properties’ offices.
10         20.    Defendant Akhavan trained Defendant Hernandez on how to manage the
11   building and the office. He did not provide any training to Defendant Hernandez
12   regarding sexual harassment. Defendant Akhavan evaluates Defendant Hernandez’s
13   performance and Defendant Hernandez reports to him. Typically, Defendant Akhavan
14   goes to Bonnie Brae approximately twice a week. He approves of large maintenance
15   projects that require the work of an outside person or company. He also makes decisions
16   related to raising rents and evicting tenants.
17         21.    Defendant Bonnie Brae Investment Services LLC, as owner or principal,
18   expressly or implicitly granted Defendant Hernandez authority to act as an agent on its
19   behalf at all times relevant to this action.
20         22.    Defendant Westlake Property Services LLC, as owner or principal,
21   expressly or implicitly granted Defendant Hernandez authority to act as an agent on its
22   behalf at all times relevant to this action.
23         23.    Since at least 2006, Defendant Hernandez has subjected female tenants at
24   Bonnie Brae and Westlake to discrimination on the basis of sex, including severe,
25   pervasive, and unwelcome sexual harassment, on multiple occasions. Defendant
26   Hernandez’s conduct has included, but is not limited to:
27                a.     Subjecting female tenants to unwelcome sexual contact, including
28                       sexual assault;
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 1                b.     Frequently making unwelcome sexual comments and unwelcome
 2                       sexual advances to female tenants;
 3                c.     Making intrusive, unannounced visits to female tenants’ homes to
 4                       conduct and further his sexual advances; and
 5                d.     Conditioning or offering to grant tangible housing benefits—such as
 6                       reducing rent or excusing late or unpaid rent—in exchange for
 7                       engaging in sexual acts with him.
 8         24.    The experiences of these female tenants were not isolated instances. Rather,
 9   these were part of Defendant Hernandez’s longstanding pattern or practice of illegal
10   sexual harassment of numerous female tenants.
11         25.    Defendants Akhavan, Bonnie Brae Investment Services LLC, and Westlake
12   Property Services LLC are vicariously liable for the actions of their agent, Defendant
13   Hernandez.
14         26.    The above-described actions and conduct of Defendant Hernandez caused
15   female tenants to suffer physical harm, fear, anxiety, and emotional distress, and
16   inhibited their ability to secure housing for themselves and their families.
17                                    CLAIM FOR RELIEF
18         27.    Plaintiff United States of America realleges the allegations contained in
19   paragraphs 1 through 26 above. By these actions and statements, Defendants have:
20                a.     Discriminated in the terms, conditions, or privileges of the rental of
21                       dwellings, or in the provision of services or facilities in connection
22                       therewith, because of sex, in violation of 42 U.S.C. § 3604(b);
23                b.     Made statements with respect to the rental of dwellings that indicate a
24                       preference, limitation, or discrimination based on sex, in violation 42
25                       U.S.C. § 3604(c); and
26                c.     Coerced, intimidated, threatened, or interfered with persons in the
27                       exercise or enjoyment of, or on account of their having exercised or
28                       enjoyed, their rights granted or protected by Section 804 of the Fair
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 1                        Housing Act, in violation of 42 U.S.C. § 3617.
 2         28.    Defendants’ conduct constitutes:
 3                a.      A pattern or practice of resistance to the full enjoyment of the rights
 4                        granted by the Fair Housing Act, 42 U.S.C. §§ 3601 et seq.; and
 5                b.      A denial to a group of persons of rights granted by the Fair Housing
 6                        Act, 42 U.S.C. §§ 3601 et seq., where such denial raises an issue of
 7                        general public importance.
 8         29.    There are victims of Defendants’ discriminatory conduct. Such persons are
 9   aggrieved persons, as defined in 42 U.S.C. § 3602(i), and have suffered damages as a
10   result of Defendants’ conduct.
11         30.    Defendants’ conduct was intentional, willful, or taken in reckless disregard
12   of the rights of others.
13                                    PRAYER FOR RELIEF
14         WHEREFORE, the United States prays that the Court enter an Order that:
15         a.     Declares that Defendants’ discriminatory practices violate the Fair Housing
16                Act, as amended, 42 U.S.C. §§ 3601 et seq.;
17         b.     Enjoins the Defendants, their agents, employees, and successors, and all
18                other persons in active concert or participation with them, from:
19                 i.     Discriminating on the basis of sex, including engaging in sexual
20                        harassment, in any aspect of the rental of a dwelling;
21                 ii.    Interfering with or threatening to take any action against any person
22                        engaged in the exercise or enjoyment of rights granted or protected
23                        by the Fair Housing Act;
24                 iii.   Failing or refusing to take such affirmative steps as may be
25                        necessary to restore, as nearly as practicable, the victims of
26                        Defendants’ past unlawful practices to the position they would have
27                        been in but for the discriminatory conduct; and
28                 iv.    Failing or refusing to take such affirmative steps as may be
                                                   5
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 1                     necessary to prevent the recurrence of any discriminatory conduct in
 2                     the future and to eliminate, as nearly as practicable, the effects of
 3                     Defendants’ unlawful practices;
 4         c.   Awards such preventive relief, including a permanent or temporary
 5              injunction, restraining order, or other order against Defendants for a
 6              violation of the Fair Housing Act, as amended, pursuant to 42 U.S.C.
 7              § 3614(d)(1)(A);
 8         d.   Awards monetary damages to each person aggrieved by Defendants’
 9              discriminatory conduct, pursuant to 42 U.S.C. § 3614(d)(1)(B);
10         e.   Assesses civil penalties against Defendants in order to vindicate the public
11              interest, pursuant to 42 U.S.C. § 3614(d)(1)(c); and
12         f.   Grants such other and further relief as the Court deems just and proper.
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 1                               DEMAND FOR JURY TRIAL
 2         The United States hereby demands a trial by jury of all issues so triable pursuant
 3   to Rule 38 of the Federal Rules of Civil Procedure.
 4
 5    Dated: January 13, 2020                           Respectfully submitted,
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